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AO 440 (Rev. 06/12) Sum,mons in a Civil Actien {Page 2)

Civil Action No. 3:18-ev-133

 

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

ThiS SllmIHOIlS for (name of individual and title, ifany) 7/\ mg § amy W, fla C') C c/ § did f cdi ll ark _'j;] (’..M rch b
was received by me on (daze) 43 -.¢ Z`7 _ I‘ 6

W

 

L'.| I personally served the summons on the individual at (place)

 

on (daze) ; or

 

5 I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (dare) , and mailed a copy to the individual’s last known address; or

 

%[ served the summons on (name pfindividuay A/[/{ }~f y 511 51 l {)_ £/_ 55 go M/,,¢ L; if ) , Who is

 

 

designated by law to accept service of process on behalf of (name aforganiza:io{z) n mfg 51 ,yy g ;r,",_»_ a
Odr/'[d€fltc't l kidd nfw§ umwa-el (’0' °“(d“’e) __Lé" ’/23__"2 ;°r
Cl I returned the summons unexecuted because ; or

 

g Othel‘ (specijj)):

My fees are $ for travel and $ 3 [> rif for services, for a total of $ 3 9_00 .

I declare under penalty of peijury that this information is true.

Date: 6 "' '/ ' /j}? /FM

Server's signature

r,/)>c>t,v\a/¢ 5~"£$?//?£¢[’ 7' /O;/‘f)cl '&`9` C ~5"?//"1'/£.€1

Prz'nted name an title

2,2»5’ fra/ay P¢*¢"»)’ Ravtd 5- wl
C edich /'?Oc/?»‘}L/' 31 fsi/w

Server ’s address

Additional information regarding attempted service, etc:

tim _

